     Case 9:17-cv-00176-DWM Document 22 Filed 05/30/18 Page 1 of 14



John C. Clune
Lauren E. Groth
HUTCHINSON, BLACK, AND COOK, LLC
921 Walnut Street, Suite 200
Boulder, CO 80302
(303) 442-6514
clune@hbcboulder.com
groth@hbcboulder.com

Peter Michael Meloy
MELOY LAW FIRM
P.O. Box 1241
Helena, MT 59624-1241
(406) 442-8670
mike@meloylawfirm.com
Attorneys for Plaintiffs

Elizabeth A. Kaleva
Kevin Twidwell
Elizabeth A. O’Halloran
KALEVA LAW OFFICES
P.O. Box 9312
Missoula, MT 59807
(406) 542-1300
ktwidwell@kalevalaw.com
Attorneys for Defendants
                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MONTANA
                                MISSOULA DIVISION


 T.C., G.C. and JANE DOE                         Case No. CV 9:17-cv-00176-DWM
                            Plaintiffs,

          v.                                     STIPULATED PROTECTIVE ORDER FOR
                                                 STANDARD LITIGATION
 FRENCHTOWN SCHOOL DISTRICT, and
 RANDY CLINE, in his individual capacity,

                            Defendant.



1.      PURPOSES AND LIMITATIONS
        Disclosure and discovery activity in this action are likely to involve production of

confidential, proprietary, or private information for which special protection from public
     Case 9:17-cv-00176-DWM Document 22 Filed 05/30/18 Page 2 of 14



disclosure and from use for any purpose other than prosecuting this litigation may be warranted.

Accordingly, the parties hereby stipulate to and petition the court to enter the following

Stipulated Protective Order. The parties acknowledge that this Order does not confer blanket

protections on all disclosures or responses to discovery and that the protection it affords from

public disclosure and use extends only to the limited information or items that are entitled to

confidential treatment under the applicable legal principles. The parties further acknowledge, as

set forth in Section 12.3, below, that this Stipulated Protective Order does not entitle them to file

confidential information under seal; Civil Local Rule 5.1 sets forth the procedures that must be

followed and the standards that will be applied when a party seeks permission from the court to

file material under seal.

2.      DEFINITIONS

        2.1     Challenging Party:       a Party or Non-Party that challenges the designation of

information or items under this Order.

        2.2     “CONFIDENTIAL” Information or Items: information (regardless of how it is

generated, stored or maintained) or tangible things that qualify for protection under Federal Rule

of Civil Procedure 26(c).

        2.3     Counsel (without qualifier): Outside Counsel of Record and House Counsel (as

well as their support staff).
        2.4     Designating Party: a Party or Non-Party that designates information or items that

it produces in disclosures or in responses to discovery as “CONFIDENTIAL.”

        2.5     Disclosure or Discovery Material: all items or information, regardless of the

medium or manner in which it is generated, stored, or maintained (including, among other things,

testimony, transcripts, and tangible things), that are produced or generated in disclosures or

responses to discovery in this matter.

        2.6     Expert: a person with specialized knowledge or experience in a matter pertinent

to the litigation who has been retained by a Party or its counsel to serve as an expert witness or as
a consultant in this action.

        2.7     House Counsel: attorneys who are employees of a party to this action. House
                                                   2
     Case 9:17-cv-00176-DWM Document 22 Filed 05/30/18 Page 3 of 14



Counsel does not include Outside Counsel of Record or any other outside counsel.

        2.8    Non-Party: any natural person, partnership, corporation, association, or other

legal entity not named as a Party to this action.

        2.9    Outside Counsel of Record: attorneys who are not employees of a party to this

action but are retained to represent or advise a party to this action and have appeared in this

action on behalf of that party or are affiliated with a law firm which has appeared on behalf of

that party.

        2.10   Party: any party to this action, including all of its officers, directors, employees,

consultants, retained experts, and Outside Counsel of Record (and their support staffs).

        2.11   Producing Party: a Party or Non-Party that produces Disclosure or Discovery

Material in this action.

        2.12   Professional Vendors: persons or entities that provide litigation support services

(e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations, and

organizing, storing, or retrieving data in any form or medium) and their employees and

subcontractors.

        2.13   Protected Material: any Disclosure or Discovery Material that is designated as

“CONFIDENTIAL.”

        2.14   Receiving Party: a Party that receives Disclosure or Discovery Material from a
Producing Party.

3.      SCOPE

        The protections conferred by this Stipulation and Order cover not only Protected Material

(as defined above), but also (1) any information copied or extracted from Protected Material; (2)

all copies, excerpts, summaries, or compilations of Protected Material; and (3) any testimony,

conversations, or presentations by Parties or their Counsel that might reveal Protected Material.

However, the protections conferred by this Stipulation and Order do not cover the following

information: (a) any information that is in the public domain at the time of disclosure to a
Receiving Party or becomes part of the public domain after its disclosure to a Receiving Party as

a result of publication not involving a violation of this Order, including becoming part of the
                                                    3
     Case 9:17-cv-00176-DWM Document 22 Filed 05/30/18 Page 4 of 14



public record through trial or otherwise; and (b) any information known to the Receiving Party

prior to the disclosure or obtained by the Receiving Party after the disclosure from a source who

obtained the information lawfully and under no obligation of confidentiality to the Designating

Party. Any use of Protected Material at trial shall be governed by a separate agreement or order.

4.      DURATION

        Even after final disposition of this litigation, the confidentiality obligations imposed by

this Order shall remain in effect until a Designating Party agrees otherwise in writing or a court

order otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of all

claims and defenses in this action, with or without prejudice; and (2) final judgment herein after

the completion and exhaustion of all appeals, rehearings, remands, trials, or reviews of this

action, including the time limits for filing any motions or applications for extension of time

pursuant to applicable law.

5.      DESIGNATING PROTECTED MATERIAL

        5.1    Exercise of Restraint and Care in Designating Material for Protection. Each Party

or Non-Party that designates information or items for protection under this Order must take care

to limit any such designation to specific material that qualifies under the appropriate standards.

The Designating Party must designate for protection only those parts of material, documents,

items, or oral or written communications that qualify – so that other portions of the material,
documents, items, or communications for which protection is not warranted are not swept

unjustifiably within the ambit of this Order.

        Mass, indiscriminate, or routinized designations are prohibited. Designations that are

shown to be clearly unjustified or that have been made for an improper purpose (e.g., to

unnecessarily encumber or retard the case development process or to impose unnecessary

expenses and burdens on other parties) expose the Designating Party to sanctions.

If it comes to a Designating Party’s attention that information or items that it designated for

protection do not qualify for protection that Designating Party must promptly notify all other
Parties that it is withdrawing the mistaken designation.

        5.2    Manner and Timing of Designations. Except as otherwise provided in this Order
                                                 4
  Case 9:17-cv-00176-DWM Document 22 Filed 05/30/18 Page 5 of 14



(see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or ordered,

Disclosure or Discovery Material that qualifies for protection under this Order must be clearly so

designated before the material is disclosed or produced.

       Designation in conformity with this Order requires:

            (a) for information in documentary form (e.g., paper or electronic documents, but

excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing

Party affix the legend “CONFIDENTIAL” to each page that contains protected material. If only

a portion or portions of the material on a page qualifies for protection, the Producing Party also

must clearly identify the protected portion(s) (e.g., by making appropriate markings in the

margins).

       A Party or Non-Party that makes original documents or materials available for inspection

need not designate them for protection until after the inspecting Party has indicated which

material it would like copied and produced. During the inspection and before the designation, all

of the material made available for inspection shall be deemed “CONFIDENTIAL.” After the

inspecting Party has identified the documents it wants copied and produced, the Producing Party

must determine which documents, or portions thereof, qualify for protection under this Order.

Then, before producing the specified documents, the Producing Party must affix the

“CONFIDENTIAL” legend to each page that contains Protected Material. If only a portion or
portions of the material on a page qualifies for protection, the Producing Party also must clearly

identify the protected portion(s) (e.g., by making appropriate markings in the margins).

            (b) for testimony given in deposition or in other pretrial or trial proceedings, that the

Designating Party identify on the record, before the close of the deposition, hearing, or other

proceeding, all protected testimony.

            (c) for information produced in some form other than documentary and for any other

tangible items, that the Producing Party affix in a prominent place on the exterior of the

container or containers in which the information or item is stored the legend
“CONFIDENTIAL.” If only a portion or portions of the information or item warrant protection,

the Producing Party, to the extent practicable, shall identify the protected portion(s).
                                                   5
     Case 9:17-cv-00176-DWM Document 22 Filed 05/30/18 Page 6 of 14



        5.3    Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to

designate qualified information or items does not, standing alone, waive the Designating Party’s

right to secure protection under this Order for such material. Upon timely correction of a

designation, the Receiving Party must make reasonable efforts to assure that the material is

treated in accordance with the provisions of this Order.

6.      CHALLENGING CONFIDENTIALITY DESIGNATIONS

        6.1    Timing of Challenges. Any Party or Non-Party may challenge a designation of

confidentiality at any time. Unless a prompt challenge to a Designating Party’s confidentiality

designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic

burdens, or a significant disruption or delay of the litigation, a Party does not waive its right to

challenge a confidentiality designation by electing not to mount a challenge promptly after the

original designation is disclosed.

        6.2    Meet and Confer. The Challenging Party shall initiate the dispute resolution

process by providing written notice of each designation it is challenging and describing the basis

for each challenge. To avoid ambiguity as to whether a challenge has been made, the written

notice must recite that the challenge to confidentiality is being made in accordance with this

specific paragraph of the Protective Order. The parties shall attempt to resolve each challenge in

good faith and must begin the process by conferring directly (in voice to voice dialogue; other
forms of communication are not sufficient) within 14 days of the date of service of notice. In

conferring, the Challenging Party must explain the basis for its belief that the confidentiality

designation was not proper and must give the Designating Party an opportunity to review the

designated material, to reconsider the circumstances, and, if no change in designation is offered,

to explain the basis for the chosen designation. A Challenging Party may proceed to the next

stage of the challenge process only if it has engaged in this meet and confer process first or

establishes that the Designating Party is unwilling to participate in the meet and confer process in

a timely manner.
        6.3    Judicial Intervention. If the Parties cannot resolve a challenge without court

intervention, the Designating Party shall file and serve a motion to retain confidentiality within
                                                  6
     Case 9:17-cv-00176-DWM Document 22 Filed 05/30/18 Page 7 of 14



21 days of the initial notice of challenge or within 14 days of the parties agreeing that the meet

and confer process will not resolve their dispute, whichever is earlier. Each such motion must be

accompanied by a competent declaration affirming that the movant has complied with the meet

and confer requirements imposed in the preceding paragraph. Failure by the Designating Party to

make such a motion including the required declaration within 21 days (or 14 days, if applicable)

shall automatically waive the confidentiality designation for each challenged designation. In

addition, the Challenging Party may file a motion challenging a confidentiality designation at

any time if there is good cause for doing so, including a challenge to the designation of a

deposition transcript or any portions thereof. Any motion brought pursuant to this provision must

be accompanied by a competent declaration affirming that the movant has complied with the

meet and confer requirements imposed by the preceding paragraph.

        The burden of persuasion in any such challenge proceeding shall be on the Designating

Party. Frivolous challenges, and those made for an improper purpose (e.g., to harass or impose

unnecessary expenses and burdens on other parties) may expose the Challenging Party to

sanctions. Unless the Designating Party has waived the confidentiality designation by failing to

file a motion to retain confidentiality as described above, all parties shall continue to afford the

material in question the level of protection to which it is entitled under the Producing Party’s

designation until the court rules on the challenge.
7.      ACCESS TO AND USE OF PROTECTED MATERIAL

        7.1    Basic Principles. A Receiving Party may use Protected Material that is disclosed

or produced by another Party or by a Non-Party in connection with this case only for

prosecuting, defending, or attempting to settle this litigation. Such Protected Material may be

disclosed only to the categories of persons and under the conditions described in this Order.

When the litigation has been terminated, a Receiving Party must comply with the provisions of

section 13 below (FINAL DISPOSITION).

        Protected Material must be stored and maintained by a Receiving Party at a location and
in a secure manner that ensures that access is limited to the persons authorized under this Order.

        7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise
                                                  7
     Case 9:17-cv-00176-DWM Document 22 Filed 05/30/18 Page 8 of 14



ordered by the court or permitted in writing by the Designating Party, a Receiving Party may

disclose any information or item designated “CONFIDENTIAL” only to:

           (a) the Receiving Party’s Outside Counsel of Record in this action, as well as

employees of said Outside Counsel of Record to whom it is reasonably necessary to disclose the

information for this litigation and who have signed the “Acknowledgment and Agreement to Be

Bound” that is attached hereto as Exhibit A;

           (b)    the officers, directors, and employees (including House Counsel) of the

Receiving Party to whom disclosure is reasonably necessary for this litigation and who have

signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

           (c) Experts (as defined in this Order) of the Receiving Party to whom disclosure is

reasonably necessary for this litigation and who have signed the “Acknowledgment and

Agreement to Be Bound” (Exhibit A);

           (d) the court and its personnel;

           (e) court reporters and their staff, professional jury or trial consultants, mock jurors,

and Professional Vendors to whom disclosure is reasonably necessary for this litigation and who

have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

           (f) during their depositions, witnesses in the action to whom disclosure is reasonably

necessary and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit
A), unless otherwise agreed by the Designating Party or ordered by the court. Pages of

transcribed deposition testimony or exhibits to depositions that reveal Protected Material must be

separately bound by the court reporter and may not be disclosed to anyone except as permitted

under this Stipulated Protective Order.

           (g) the author or recipient of a document containing the information or a custodian or

other person who otherwise possessed or knew the information.

8.      PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER

        LITIGATION
        If a Party is served with a subpoena or a court order issued in other litigation that compels

disclosure of any information or items designated in this action as “CONFIDENTIAL,” that
                                                  8
     Case 9:17-cv-00176-DWM Document 22 Filed 05/30/18 Page 9 of 14



Party must:

           (a) promptly notify in writing the Designating Party. Such notification shall include a

copy of the subpoena or court order;

           (b) promptly notify in writing the party who caused the subpoena or order to issue in

the other litigation that some or all of the material covered by the subpoena or order is subject to

this Protective Order. Such notification shall include a copy of this Stipulated Protective Order;

and

           (c) cooperate with respect to all reasonable procedures sought to be pursued by the

Designating Party whose Protected Material may be affected.

        If the Designating Party timely seeks a protective order, the Party served with the

subpoena or court order shall not produce any information designated in this action as

“CONFIDENTIAL” before a determination by the court from which the subpoena or order

issued, unless the Party has obtained the Designating Party’s permission. The Designating Party

shall bear the burden and expense of seeking protection in that court of its confidential material –

and nothing in these provisions should be construed as authorizing or encouraging a Receiving

Party in this action to disobey a lawful directive from another court.

9.      A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN THIS

        LITIGATION
           (a) The terms of this Order are applicable to information produced by a Non-Party in

this action and designated as “CONFIDENTIAL.” Such information produced by Non-Parties in

connection with this litigation is protected by the remedies and relief provided by this Order.

Nothing in these provisions should be construed as prohibiting a Non-Party from seeking

additional protections.

           (b) In the event that a Party is required, by a valid discovery request, to produce a

Non-Party’s confidential information in its possession, and the Party is subject to an agreement

with the Non-Party not to produce the Non-Party’s confidential information, then the Party shall:
               (1) promptly notify in writing the Requesting Party and the Non-Party that some

or all of the information requested is subject to a confidentiality agreement with a Non-Party;
                                                  9
 Case 9:17-cv-00176-DWM Document 22 Filed 05/30/18 Page 10 of 14



               (2) promptly provide the Non-Party with a copy of the Stipulated Protective

Order in this litigation, the relevant discovery request(s), and a reasonably specific description of

the information requested; and

               (3) make the information requested available for inspection by the Non-Party.

           (c) If the Non-Party fails to object or seek a protective order from this court within

14 days of receiving the notice and accompanying information, the Receiving Party may produce

the Non-Party’s confidential information responsive to the discovery request. If the Non-Party

timely seeks a protective order, the Receiving Party shall not produce any information in its

possession or control that is subject to the confidentiality agreement with the Non-Party before a

determination by the court. Absent a court order to the contrary, the Non-Party shall bear the

burden and expense of seeking protection in this court of its Protected Material.

10.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

       If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected

Material to any person or in any circumstance not authorized under this Stipulated Protective

Order, the Receiving Party must immediately (a) notify in writing the Designating Party of the

unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized copies of the

Protected Material, (c) inform the person or persons to whom unauthorized disclosures were

made of all the terms of this Order, and (d) request such person or persons to execute the
“Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit A.

11.    INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED

       MATERIAL

       When a Producing Party gives notice to Receiving Parties that certain inadvertently

produced material is subject to a claim of privilege or other protection, the obligations of the

Receiving Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This

provision is not intended to modify whatever procedure may be established in an e-discovery

order that provides for production without prior privilege review. Pursuant to Federal Rule of
Evidence 502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure of a

communication or information covered by the attorney-client privilege or work product
                                                  10
 Case 9:17-cv-00176-DWM Document 22 Filed 05/30/18 Page 11 of 14



protection, the parties may incorporate their agreement in the stipulated protective order

submitted to the court.

12.    MISCELLANEOUS

       12.1    Right to Further Relief. Nothing in this Order abridges the right of any person to

seek its modification by the court in the future.

       12.2    Right to Assert Other Objections. By stipulating to the entry of this Protective

Order no Party waives any right it otherwise would have to object to disclosing or producing any

information or item on any ground not addressed in this Stipulated Protective Order. Similarly,

no Party waives any right to object on any ground to use in evidence of any of the material

covered by this Protective Order.

       12.3    Filing Protected Material. Without written permission from the Designating Party

or a court order secured after appropriate notice to all interested persons, a Party may not file in

the public record in this action any Protected Material. A Party that seeks to file under seal any

Protected Material must comply with Civil Local Rule 5.1. Protected Material may only be filed

under seal pursuant to a court order authorizing the sealing of the specific Protected Material at

issue. Pursuant to Civil Local Rule 5.1, a sealing order will issue only upon a request

establishing that the Protected Material at issue is privileged, protectable as a trade secret, or

otherwise entitled to protection under the law. If a Receiving Party's request to file Protected
Material under seal pursuant to Civil Local Rule 5.1 is denied by the court, then the Receiving

Party may file the information in the public record unless otherwise instructed by the court.

13.    FINAL DISPOSITION

       Within 60 days after the final disposition of this action, as defined in paragraph 4, each

Receiving Party must return all Protected Material to the Producing Party or destroy such

material. As used in this subdivision, “all Protected Material” includes all copies, abstracts,

compilations, summaries, and any other format reproducing or capturing any of the Protected

Material. Whether the Protected Material is returned or destroyed, the Receiving Party must
submit a written certification to the Producing Party (and, if not the same person or entity, to the

Designating Party) by the 60 day deadline that (1) identifies (by category, where appropriate) all
                                                    11
 Case 9:17-cv-00176-DWM Document 22 Filed 05/30/18 Page 12 of 14



the Protected Material that was returned or destroyed and (2) affirms that the Receiving Party has

not retained any copies, abstracts, compilations, summaries or any other format reproducing or

capturing any of the Protected Material. Notwithstanding this provision, Counsel are entitled to

retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing transcripts,

legal memoranda, correspondence, deposition and trial exhibits, expert reports, attorney work

product, and consultant and expert work product, even if such materials contain Protected

Material. Any such archival copies that contain or constitute Protected Material remain subject to

this Protective Order as set forth in Section 4 (DURATION).

IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.



DATED: ______5/30/2018__________ ___/s/ John C. Clune_____________________
                                       Attorneys for Plaintiff



DATED: ______5/30/2018__________ __/s/ Kevin Twidwell____________________
                                        Attorneys for Defendant



PURSUANT TO STIPULATION, IT IS SO ORDERED.


DATED: ________________________            _____________________________________
                                                United States District/Magistrate Judge




                                                 12
 Case 9:17-cv-00176-DWM Document 22 Filed 05/30/18 Page 13 of 14



                                               EXHIBIT A

                   ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

I, _____________________________ [print or type full name], of _________________ [print or

type full address], declare under penalty of perjury that I have read in its entirety and understand the

Stipulated Protective Order that was issued by the United States District Court for the District of

Montana Missoula Division on [date] in the case of ___________ [insert formal name of the case

and the number and initials assigned to it by the court]. I agree to comply with and to be bound

by all the terms of this Stipulated Protective Order and I understand and acknowledge that failure to

so comply could expose me to sanctions and punishment in the nature of contempt. I solemnly

promise that I will not disclose in any manner any information or item that is subject to this

Stipulated Protective Order to any person or entity except in strict compliance with the provisions of

this Order.

I further agree to submit to the jurisdiction of the United States District Court for the District of

Montana Missoula Division for the purpose of enforcing the terms of this Stipulated Protective

Order, even if such enforcement proceedings occur after termination of this action.

I hereby appoint __________________________ [print or type full name] of

_______________________________________ [print or type full address and telephone number] as

my Montana agent for service of process in connection with this action or any proceedings related to
enforcement of this Stipulated Protective Order.



Date: ______________________________________

City and State where sworn and signed: _________________________________



Printed name: _______________________________



Signature: __________________________________




                                                   13
 Case 9:17-cv-00176-DWM Document 22 Filed 05/30/18 Page 14 of 14



                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 30, 2018 I electronically filed the foregoing with the Clerk of
Court for the Federal District Court of Montana, Missoula Division, by CM/ECF.

        I certify that all participants in this case are registered CM/ECF users, who receive service
electronically through the CM/ECF system:

       Kaleva Law Offices
       Elizabeth A. Kaleva
       Kevin Twidwell
       P.O. Box 9312
       Missoula, MT 59807
       Attorney for Defendant District

       Elizabeth O’Halloran
       Kaleva Law Offices
       P.O. Box 9312
       Missoula, MT 59807
       Additional Attorney for Defendant Cline

                                                      _/s/ John C. Clune
                                                      John C. Clune




                                                 14
